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                              UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                      AT LOUISVILLE
                          CRIMINAL ACTION NO. 3:15-CR-00044-6-TBR

UNITED STATES OF AMERICA,                                                                       PLAINTIFF

v.

DARRYLE COOPER, et. al,                                                                      DEFENDANT

                            MEMORANDUM OPINION AND ORDER

        This matter is before the Court on Defendant Gary Ross’s Motion to Suppress and

Supplement to his Motion to Suppress. [DN 148; DN 160.] The United States responded, [DN

165], and Ross did not reply. The Court held a suppression hearing on February 2, 2017, at

which it heard testimony from Sergeant Steve Bailey, Officer Sean Szpila, Ross’s girlfriend,

Akia Ellis, and Defendant Ross. [DN 166; DN 167.] The parties filed simultaneous post-hearing

briefs, [DN 170; DN 171], and Ross filed a response, [DN 178.] Fully briefed, Ross’s motion is

ripe for adjudication. For the following reasons, Ross’s Motion to Suppress [DN 148] is

DENIED.

                                             BACKGROUND

        On the night of October 28, 2014 at approximately 9:15 p.m., Sergeant Steve Bailey of

the Louisville Metro Police Department (LMPD)1 was dispatched to a house on Southdale Road

in Louisville, Kentucky to respond to a panic alarm that was set off at the residence. [DN 167 at

5 (Evidentiary Hearing Transcript).] Sergeant Bailey testified that he arrived at the house by

9:18 p.m., about three minutes later. [Id. at 6.] After Sergeant Bailey exited his vehicle and

approached the house, he observed the silhouette of a person through the glass on the front door.

[Id. at 7–8.] The person, who was the Defendant, Gary Ross, stepped out of the front door to

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 Sergeant Bailey was employed with LMPD on October 28, 2014, but at the time of the evidentiary hearing, he was
employed by the Prospect Police Department. [DN 167 at 3–4.]

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stand on the porch. [Id. at 7.] As Sergeant Bailey walked toward the porch, Ross informed him

that he had tried to call dispatch to cancel any police response to the panic alarm, and Sergeant

Bailey testified that Ross did this in a “suspicious and kind of nervous” way that indicated “he

didn’t want police presence at that particular time.” [Id.] Sergeant Bailey explained that, while in

his experience homeowners are typically grateful when police respond to alarms, Ross acted

“very defensive,” stood in close proximity to his front door, and “was kind of mad . . . or

disgusted with dispatch” for failing to cancel the police response. [Id. at 9.] Sergeant Bailey

testified that immediately upon speaking with Ross, he could “smell a strong fresh odor of

marijuana emitting from within the residence.” [Id. at 12.] Sergeant Bailey testified that he had

encountered this smell on numerous occasions throughout his twenty-three years as a police

officer, and that after working in narcotics, he can discern a difference between the smell of

burnt or recently smoked marijuana and fresh marijuana. [Id. at 14.]

       To verify that Ross did, in fact, live at the residence on Southdale Road, Sergeant Bailey

asked Ross for identification, which Ross provided. [Id. at 13; 16; 46.] During this initial

encounter, the door to Ross’s house was slightly open, and at one point Sergeant Bailey observed

Ross’s girlfriend, Akia Ellis, in the house with a young child. [Id. at 15.] Although Ross

informed Sergeant Bailey that his son accidentally set off the home alarm, Sergeant Bailey

testified that the alarm coupled with Ross’s defensiveness made him concerned about the

possibility of a domestic disturbance or a home invasion. [Id. at 16.] Sergeant Bailey testified

that Ross started to become more “belligerent,” and he began to suspect that illegal activity was

going on. [Id.] At this point, Office Bailey asked Ross for his consent to search his home. [Id.] In

response, Sergeant Bailey testified that Ross became more belligerent, possibly as “a

distractionary technique.” [Id. at 17.] Sergeant Bailey further testified that Ross admitted that he



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had recently smoked marijuana and that he stated that he was in a rush to leave his house. [Id.]

Ross turned to Ellis and told her to shut the door and not to let Sergeant Bailey in. [Id.] In

response, Sergeant Bailey instructed Ellis “[d]on’t shut that door.” [Id.]

       After this exchange, Sergeant Bailey called for backup, and while he waited for another

officer to arrive, he placed Ross in handcuffs “for mine and [his] safety,” though he did not place

Ross under arrest. [Id.]      Ross remained in handcuffs until police left his residence at

approximately 4:45 a.m. the next morning. [Id. at 49.] Officer Sean Szpila arrived at the house

shortly thereafter and observed that Ross “seemed agitated” and “was not calm” when he arrived.

[Id. at 49; 65–67.] However, both officers testified that Ross seemed to interact more calmly with

Officer Szpila than he did with Sergeant Bailey and that the two developed a “bit of a rapport.”

[Id. at 19; 67–68.] Officer Szpila also testified that he could smell marijuana from outside the

house. [Id. at 68; 71.] The officers both testified that, shortly after Officer Szpila arrived and

began talking with Ross, he admitted to them “that he had a little bit of marijuana inside the

residence” and gave Officer Szpila permission to go into the house to seize the marijuana. [Id. at

19–20; 68; 72.] When Officer Szpila went into the house, he observed a small amount of

marijuana, some money, and a stack of loose leaf paper in the kitchen. [Id. at 68–69.] Officer

Szpila also saw Ellis and her young son. [Id. at 68.] He then went back out onto the porch and

told Sergeant Bailey what he saw. [Id. at 23; 69.]

       Sergeant Bailey and Officer Szpila then took Ross inside the house, and while Officer

Szpila remained with Ross and Ellis, Sergeant Bailey conducted a “protective sweep of the house

to make sure there w[ere] no other suspects present within.” [Id. at 23; 70.] After the sweep

concluded, Officer Szpila and a third officer who arrived on the scene, Officer Jones, stayed with

Ross and Ellis in the living room while Sergeant Bailey gathered information he would need to



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apply for a search warrant of the home. [Id. at 28.] Sergeant Bailey then left to type up the

warrant affidavit and present the application to a state court judge, who granted and signed the

warrant at approximately 1:40 a.m. on October 29, 2014. [Id. at 28; 49.]

       After Sergeant Bailey arrived back at Ross’s house, the officers took Ellis’s information

and allowed her to leave with her young son. [Id. at 29.] Then, Sergeant Bailey and the rest of his

five-person unit, which had since arrived at the residence, executed the search warrant and

performed a detailed search of the house. [Id.] The officers found various evidence during their

search, the most significant of which was large sums of money located at the bottom of a laundry

basket in the master bedroom, including three $30,000 stacks and one $55,000 stack of cash. [Id.

at 29–32.]

       While the officers searched and filled out a log sheet documenting the evidence they

found during their search, Sergeant Bailey and Ross began talking “in an interview-type forum.”

[Id. at 33.] Sergeant Bailey testified that he read Ross his Miranda rights and that Ross “agreed.

He waived his rights and agreed to speak with me.” [Id. at 33–34.] However, Sergeant Bailey did

not obtain a written Miranda waiver. [Id. at 51–53.] Sergeant Bailey testified that the two began

to talk in more detail about the case, and that Ross responded to him more positively than he had

during their initial encounter. [Id. at 34–35.] However, neither Ross nor the United States have

identified for the Court any statements Ross made after waiving his Miranda rights.

       Ross and Ellis, who also testified at the evidentiary hearing, told the story with some key

differences. First, Ellis testified that their two-year-old son set off the alarm to their house when

playing with the alarm key fob on Ross’s keys. [Id. at 80; 92.] When the alarm system went off,

Ellis stated that she put in the correct code to stop it. [Id. at 80.] When the alarm company called

Ross, he explained that their son had accidentally set the alarm off and provided the proper



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passcode. [Id.] Ellis estimated that it was approximately twenty to thirty minutes later when

Sergeant Bailey arrived at the house. [Id. at 80–81.] On cross-examination, defense counsel

questioned Sergeant Bailey regarding an incident report pertaining to these events that states

“alarm company advises false alarm; did speak to homeowner that provided proper passcode.”

[Id. at 42–43.] Ross and Ellis testified that they explained this to Sergeant Bailey, [id. at 90–94],

however, Sergeant Bailey testified that he never received word from dispatch to disregard the

panic alarm. [Id. at 27–28.] Rather, Sergeant Bailey explained that he believed that incident

report was generated from the police dispatch center, “[b]ut chronologically speaking, there’s

information on there . . . that’s not relayed to me as the officer on scene.” [Id. at 57.]

Accordingly, Sergeant Bailey was hesitant to take Ross’s word for it that the alarm was an

accident. [Id. at 61.]

        Second, both Ross and Ellis testified that it was Officer Szpila, “[t]he uniformed officer,”

rather than Sergeant Bailey, who performed the sweep of their home. [Id. at 82–83; 95.] They

testified that after Officer Szpila performed this sweep, he came back out, told Sergeant Bailey

that “everything [wa]s clear,” and that is when the officers took Ross and Ellis inside and sat

them on the couch in the living room. [Id. at 83; 95.] Shortly thereafter, the officers allowed Ellis

to leave with their son. [Id. at 83.]

        Third, Ross and Ellis both testified that after Ross told Ellis to shut the door, she

attempted to do so but Sergeant Bailey placed his foot in the doorway to prevent this from

happening. [Id. at 81–82; 94–95.] When defense counsel asked Sergeant Bailey whether he

placed his foot in the door, he stated “I don’t recall, but I may have, obviously to keep her from

shutting the door on us.” [Id. at 47.] When asked again whether he may have done this “so that




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the homeowner cannot close the door to keep police out,” Sergeant Bailey again replied “Yes.”

[Id.]

        Fourth, Ross and Ellis both testified that at no time did Ross ever give either officer any

consent to enter his residence. [Id. at 85; 95–97.] On cross-examination of Sergeant Bailey,

defense counsel questioned him regarding a “request for forfeiture” form that had printed at the

top “a consent search was denied.” [Id. at 37–39.] Sergeant Bailey clarified that, though Ross

did deny him consent to perform a full search of his home, this occurred before the consent Ross

granted Officer Szpila after he arrived on scene. [Id. at 56.] However, the warrant affidavit that

Sergeant Bailey wrote out at the station immediately after leaving Ross and Ellis at the house

with Officers Szpila and Jones makes no mention of any consent for Officer Szpila to enter

Ross’s home. [See DN 148-2 at 4 (Sergeant Bailey’s Affidavit).] Instead, Sergeant Bailey wrote

in the warrant affidavit that “Officers conducted a safety sweep of the residence to make sure no

other suspects were present inside his home where officer could observe in plain view a baggie

of Marijuana and a pile of cash on the kitchen table.” [Id.] Moreover, in the report Sergeant

Bailey wrote on October 29, 2014, the same day officers left Ross’s house, he made no mention

of the claim that Ross “consented to anyone entering at the time.” [DN 167 at 62.] Rather,

Sergeant Bailey stated in his report only that “Detective asked Ross for consent to search

residence where he continued to act defensive and became belligerent.” [Id. at 38.]

        Finally, while both officers testified that Ross told them he had marijuana in his house,

Ross testified that Sergeant Bailey “found the marijuana. I didn’t tell him anything.” [Id. at 100.]

Rather, Ross stated that he “told him I smoked marijuana. I never told him there was marijuana

inside my house.” [Id. at 101.]




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       Police officers left Ross’s house around 4:45 a.m. on the morning of October 29, 2014.

[Id. at 49; 96–97.] Ross was not arrested, but was instead given a citation for possession of

Marijuana. [Id. at 37; 40.] On January 28, 2015, Chief Judge Joseph H. McKinley, Jr. signed an

order authorizing the interception of wire communications from “Target Telephone 2,” a phone

being used by Ross. [See DN 171-3 (Application for the Interception of Wire Communications).]

On July 6, 2016, Ross was indicted on charges of conspiracy to possess with the intent to

distribute heroin in violation of 21 U.S.C. §§ 841 and 846. [DN 112 (Indictment).] Later that

same day, the LMPD obtained a search warrant for a house on Keeling Park Drive in Louisville,

Kentucky, Ross’s primary residence at the time. [See DN 171-4 (Search Warrant for Keeling

Park Drive).]

       In December 2016 and January 2017, Ross filed a motion to suppress and a supplemental

brief in support of that motion. [DN 148; DN 160.] Therein, Ross alleges many grounds on

which he argues evidence should be suppressed. First, Ross argues that the initial warrantless

entry of his house on Southdale Road on October 28, 2014 was unlawful. [DN 148 at 2.] Second,

Ross claims that the October 29, 2014 state search warrant was invalid because the warrant

affidavit relied partly on information obtained during the alleged unlawful entry and because,

without that information, the affidavit failed to establish probable cause. [Id. at 2–4.] Third, Ross

asserts that certain statements he made to police were made without a valid waiver of his

Miranda rights. [Id. at 3; DN 160 at 1.] Fourth, Ross contends that the federal wiretap warrants

relied, in part, on the alleged unlawful search of Ross’s residence on October 28, 2014, and that

the warrants also failed to establish the requisite probable cause and necessity. [DN 148 at 4–7.]

Fifth, Ross alleges that the July 6, 2016 state search warrant affidavit failed to establish probable

cause to search his house on Keeling Park Drive. [DN 160 at 1–3.]



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       The Court held an evidentiary hearing on February 2, 2017, at which Sergeant Bailey,

Officer Szpila, Ellis, and Ross all testified. [See DN 167.] Following the hearing, both parties

filed simultaneous briefs, [DN 170; 171], and Ross filed a response brief, [DN 178.] Fully

briefed, Ross’s motion is now ripe for adjudication. For the reasons that follow, Ross’s motion to

suppress [DN 148] is DENIED.

                                          STANDARD

       The Fourth Amendment protects the “right of people to be secure in their persons,

houses, papers, and effects, against unreasonable searches and seizures.” U.S. Const. amend. IV.

If the government violates a defendant’s Fourth Amendment rights, that defendant may move,

pursuant to Federal Rule of Criminal Procedure 12(b)(3)(C), to exclude the evidence gathered

against him. United States v. Haygood, 549 F.3d 1049, 1053 (6th Cir. 2008). It is well-settled

that, in seeking suppression, “the burden of proof is upon the defendant” to show that the search

or seizure violated “some constitutional or statutory right.” United States v. Rodriguez-Suazo,

346 F.3d 637, 643 (6th Cir. 2003) (quoting United States v. Feldman, 606 F.2d 673, 679 n.11

(6th Cir. 1979)). In resolving a motion to suppress, the evidence must be viewed in the light

most favorable to the Government. United States v. Rose, 714 F.3d 362, 366 (6th Cir. 2013)

(citing United States v. Beauchamp, 659 F.3d 560, 565 (6th Cir. 2011)).

                                         DISCUSSION

   1) The Initial Entry and Subsequent Search Warrant for the Southdale Road House

       Ross dedicates much of his motion to suppress and his post-hearing briefing on the

argument that the officers’ initial warrantless entry into his home on October 28, 2014, during

which officers observed marijuana and a small amount of cash in Ross’s kitchen, violated Ross’s

Fourth Amendment rights. [See DN 148; DN 170; DN 178.]



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       A “physical entry of the home is the chief evil against which the wording of the Fourth

Amendment is directed.” Andrews v. Hickman Cty., Tenn., 700 F.3d 845, 854 (6th Cir. 2012)

(quoting United States v. United States Dist. Ct., 407 U.S. 297, 313 (1972)). Accordingly,

“searches and seizures inside a home without a warrant are presumptively unreasonable,” id.

(quoting Groh v. Ramirez, 540 U.S. 551, 559 (2004)), and therefore “a warrantless search or

seizure inside a home by a law enforcement officer violates the Fourth Amendment unless an

exception to the warrant requirement applies.” Id. (citing Brigham City v. Stuart, 547 U.S. 398,

403 (2006)).

       The United States does not dispute that this initial entry in Ross’s home was warrantless,

but asserts that it was nonetheless constitutional. Specifically, the United States offers three

justifications for the officers’ initial warrantless entry into Ross’s home on October 28, 2014.

These are the exigent circumstances exception, consent, and the need to perform a protective

sweep of Ross’s home. [DN 171 at 8.] Indeed, each of these exceptions to the warrant

requirement, if satisfied, can justify law enforcement’s warrantless entry into a residence. See

United States v. Johnson, 457 F. App’x 512, 516 (6th Cir. 2012) (discussing the exigent

circumstances exception); United States v. Holland, 522 F. App’x 265, 273–76 (6th Cir. 2013)

(discussing consent and the protective sweep doctrine).

       Ross argues that none of these three exceptions is applicable here; specifically, he asserts

that no exigent circumstances existed, that officers’ contention that Ross gave them consent to

enter is not credible, and that officers lacked sufficient articulable facts to justify entering Ross’s

home to perform a protective sweep. [DN 170 at 3–6.] However, the Court ultimately need not

reach the issue of whether an exception to the warrant requirement applies here, because the

United States also argues, and the Court agrees, that the affidavit in support of the search warrant



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for Ross’s home established probable cause independent of the information obtained during

officers’ initial entry into Ross’s home. [See DN 171 at 17.]

       The Warrant Clause of the Fourth Amendment guarantees that “no [w]arrants shall issue,

but upon probable cause, . . . and particularly describing the place to be searched, and . . . things

to be seized.” U.S. Const. amend. IV. The test for probable cause is simply whether “there is a

fair probability that [1] contraband or evidence of a crime [2] will be found in a particular place.”

United States v. Grubbs, 547 U.S. 90, 95 (2006) (quoting Illinois v. Gates, 462 U.S. 213, 238

(1983)). The job of the judge “presented with a search warrant application is ‘simply to make a

practical, common-sense decision whether, given all the circumstances set forth in the

affidavit,’” both propositions ring true. United States v. Brown, 828 F.3d 375, 381 (6th Cir.

2016) (alteration in original) (quoting Gates, 462 U.S. at 238). The duty of a reviewing court, in

turn, is “to ensure that the [issuing judge] had a substantial basis for concluding that probable

cause existed.” United States v. Carpenter, 360 F.3d 591, 594 (6th Cir. 2004) (en banc) (quoting

Gates, 462 U.S. at 238–39). In making that determination, the reviewing court is limited to

examining the information contained within “the four corners of the affidavit.” United States v.

Berry, 565 F.3d 332, 338 (6th Cir. 2009) (citing United States v. Frazier, 423 F.3d 526, 531 (6th

Cir. 2005)).

       If an affidavit in support of a search warrant relies in part on unconstitutionally obtained

information, the “otherwise flawed warrant is still valid, ‘if sufficient untainted evidence was

presented in the warrant affidavit to establish probable cause.’” Young v. Owens, 577 F. App’x

410, 415 (6th Cir. 2014) (quoting United States v. Karo, 468 U.S. 705, 719 (1984)). See also

Johnson, 457 F. App’x at 517 (“We also determine that even if the initial protective sweep was

unconstitutional and the observations obtained during that sweep were removed from the search



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warrant, there was sufficient remaining evidence in the search warrant affidavit to support a

finding of probable cause.”); United States v. Beasley, 199 F. App’x 418, 423 (6th Cir. 2006)

(“Even had the sweep not been justified, however, and even had the scales found during the

sweep not been mentioned in Benton’s affidavit, probable cause still supported the issuance of

the search warrant that led to the discovery of additional incriminating evidence.”).

       Ross asserts that “[i]nformation gained from th[e alleged unlawful] sweep was then used

in the affidavit to obtain a warrant,” and therefore that the warrant was also invalid. [DN 178 at

2.] However, even if the Court assumes, for the sake of argument, that officers were not justified

in entering Ross’s home without a warrant on October 28, 2014, and therefore that portions of

the warrant affidavit relied on unconstitutionally-obtained information, the Court nonetheless

finds that sufficient “other facts existed in this case on which an adequate basis for finding

probable cause could be established.” Young, 577 F. App’x at 415. In other words, the facts

included in the affidavit that were obtained prior to and independent of the initial entry were

sufficient to establish probable cause on the face of the affidavit.

       Here, Sergeant Bailey’s affidavit, not including facts obtained during the initial entry,

established probable cause to search Ross’s house on Southdale Road. Sergeant Bailey is an

officer with twenty-two years of law enforcement experience. [DN 171-2 at 4.] His affidavit

recites that he was dispatched to Ross’s house on October 28, 2014 in response to a panic alarm.

[Id.] As Sergeant Bailey approached Ross on the front porch of his home, he immediately

detected “a strong odor of [m]arijuana omitting from within the residence.” [Id.] Sergeant Bailey

wrote that the smell was of “fresh” marijuana rather than “a burnt smell commonly associated

with one whom had just finished smoking [m]arijuana.” [Id.] Further, Sergeant Bailey stated that

Ross acted very nervous and defensive, and this defensive behavior increased after Sergeant



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Bailey asked Ross about the marijuana smell. [Id.] After Sergeant Bailey placed Ross in

handcuffs, Ross told Ellis to shut the door. [Id.] After Officer Szpila arrived, “Ross told detective

he had a small amount of [m]arijuana on his kitchen table . . . and stated to detective that was the

reason he was acting the way he was towards officer originally.” [Id.] Finally, the affidavit

described Ross’s criminal history and the fact that Sergeant Bailey observed video surveillance

cameras outside of Ross’s home which, in his experience, are “commonly used in the drug

culture to help dealers detect the presence of law enforcement.” [Id. at 5.]

       The Sixth Circuit has held that an affidavit establishes “a fair probability” that evidence

of a crime will be found “where, for example, the affiant swears that he has seen marijuana seeds

and smelled marijuana smoke inside the house to be searched.” United States v. Church, 823

F.3d 351, 355 (6th Cir.), cert. denied, 137 S. Ct. 255 (2016) (citing United States v. Brooks, 594

F.3d 488, 494 (6th Cir. 2010); United States v. Foster, 376 F.3d 577, 588 (6th Cir. 2004)). Here,

Sergeant Bailey averred that he smelled a strong odor of marijuana coming from Ross’s house

and that Ross admitted to the officers that he had a small amount of marijuana in his kitchen.

[DN 171-2 at 4.] In other words, “the smell of marijuana here does not stand alone in the warrant

affidavit, but is accompanied by” Ross’s admission that he had some marijuana in his house.

United States v. Elkins, 300 F.3d 638, 659 (6th Cir. 2002).

       Moreover, the Sixth Circuit has held that, although “nervousness alone is insufficient to

establish probable cause,” such “evasive behavior and nervousness may be considered as part of

the probable cause analysis.” United States v. Lyons, 687 F.3d 754, 770 (6th Cir. 2012) (citing

United States v. Richardson, 385 F.3d 625, 630 (6th Cir. 2004); Illinois v. Wardlow, 528 U.S.

119, 124 (2000)). And in this case, Sergeant Bailey’s affidavit further stated that “Ross was

acting extremely nervous” and that after Sergeant Bailey asked him about the smell of marijuana,



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“Ross continued his suspicious behavior and became even more nervous and defensive with

officer.” [DN 171-2 at 4.] Finally, based on Sergeant Bailey’s twenty-two years of experience,

the existence of surveillance cameras attached to the outside of Ross’s residence suggested to

him the possibility of drug activity. [Id. at 5.]

        The Court is satisfied that all of these facts included in the affidavit, when taken together,

establish probable cause for the search of Ross’s home. Accordingly, for the sake of judicial

economy, the Court need not determine whether the initial warrantless entry was justified by an

exception to the warrant requirement. Cf. Phillips v. UAW Int’l, et. al., No. 16-1832, at *5 (6th

Cir. April 12, 2017); Pearson v. Callahan, 555 U.S. 223, 236–37 (2009).

    2) Ross’s Statements to Police

        Ross states in his motion that he seeks suppression of “all statements made . . . as a result

of the searches made of Ross, his residence, and his telecommunication devices.” [DN 148 at 1.]

The only other time Ross mentions these statements in that motion is in characterizing his

admission about marijuana in his kitchen as an “alleged (and unwarned) statement.” [Id. at 3.] In

his supplemental brief, Ross merely states that he “challenges the assertion that Mr. Ross made a

valid waiver of his rights on October 28, 2014,” but he does not elaborate on this argument. [DN

160 at 1.] Finally, in Ross’s post-hearing briefing, he states that

        [d]espite the hours spent with Mr. Ross in handcuffs, the police did not obtain a
        written or recorded waiver of Ross’s rights before questioning him at the scene.
        The police bear the burden of proving that Ross waived his rights. It is clear that
        Ross was angry at the police intrusion into his life that evening. He refused
        consent for a search. There is no reason to believe that he voluntarily waived any
        rights and there is no documentation that he did so.

[DN 170 at 6.] However, Ross did not offer any legal support for this argument in his briefing

nor did he offer any testimony at the evidentiary hearing that he did not waive his Miranda




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rights. [See DN 167.] Moreover, Ross has not identified any statements he allegedly made after

the alleged Miranda waiver of which he seeks suppression.

       It is well established in the Sixth Circuit that “‘[i]ssues adverted to in a perfunctory

manner, unaccompanied by some effort at developed argumentation, are deemed waived,’ and ‘it

is not sufficient for a party to mention a possible argument in the most skeletal way, leaving the

court to put flesh on its bones.’” United States v. Brown, 819 F.3d 800, 829 (6th Cir. 2016)

(quoting United States v. Robinson, 390 F.3d 853, 886 (6th Cir. 2004); McPherson v. Kelsey, 125

F.3d 989, 995–96 (6th Cir.1997); United States v. Reed, 167 F.3d 984, 993 (6th Cir.1999))

(alterations omitted). See also United States v. Willoughby, 742 F.3d 229, 234 (6th Cir. 2014)

(“(Willoughby also suggests that the affidavit in support of the warrant was not properly sworn;

but he does not develop that argument, so we do not consider it.)”) Here, Ross has cited no legal

authority in support of his arguments, and he did not develop this issue at the evidentiary

hearing, aside from asking Sergeant Bailey to confirm that he did not obtain a written Miranda

waiver form. [See DN 167 at 51–53.] Because Ross’s argument “is perfunctory and

unaccompanied by any legal support or developed argumentation . . . , we deem this argument

waived” and find that Ross’s statements should not be suppressed. Brown, 819 F.3d at 829.

   3) The Title III Wiretap

       On January 28, 2015, the United States obtained authorization for the interception of wire

communications for “Target Telephone 2,” one of two cell phones law enforcement believed

Ross was using. [DN 171-3 at 6; 11; 16.] The other phone number police knew Ross to be using

was the number Ross provided to the LMPD on the night they searched his residence on

Southdale Road on October 28 and October 29, 2014. [Id. at 16.] The affidavit in support of the

wiretap application was written by Brian D. Sanders, a Special Agent with the Drug Enforcement



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Agency (DEA). [Id. at 10.] Therein, Special Agent Sanders identified the goals of the

investigation as “identify[ing] all individuals and the scope of their respective activities within

the ‘Boonie’” drug trafficking organization (DTO). [Id. at 19.] Law enforcement believed

“Boonie” to be the leader of a DTO in Louisville, Kentucky engaged in the distribution of

heroin. [Id.] Officials sought to identify members of the DTO, identify their role in the operation,

and to locate the source of supply of the illegal narcotics. [Id.]

       At the time the application was filed, the DEA already had authorization to intercept wire

communications over “Target Telephone 1,” a phone being used by Boonie. [Id. at 19–20.]

Interception of these communications was how law enforcement identified “‘Boonie’ as a high

level narcotics trafficker” and determined that Ross was a member of his DTO. [Id.] The DEA

believed that Boonie distributed heroin primarily to two individuals, Ross and Ronald Williams,

each with “their own network of retail trafficker[s]. Therefore, the DEA believed that

interception of communications over Target Telephone 2, which was used by Ross, would help

identify other individuals involved in the DTO. [Id. at 20.]

        Ross challenges the affidavit in support of the wiretap application in two ways. First, he

argues that the affidavit relied on information obtained during the alleged unlawful entry into

Ross’s home on October 28, 2014. [DN 148 at 4.] Second, he contends that the affidavit failed to

satisfy the probable cause and necessity requirements for Title III applications. [Id. at 4–7.] As

the Court has already determined above that the October 29, 2014 search warrant for the

Southdale Road house sufficiently set forth probable cause independent of information obtained

during any alleged unlawful entry, the Court need only address the probable cause and necessity

requirements.




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       “Title III of the Omnibus Crime Control and Safe Streets Act of 1968, 18 U.S.C. §§

2510–2522, governs the legal requirements for wiretaps.” United States v. Wright, 635 F. App’x

162, 165–66 (6th Cir. 2015). The statute requires, in part, that applications for the interception of

wire communications must establish that 1) “there is probable cause for belief that an individual

is committing, has committed, or is about to commit a particular offense enumerated in section

2516 of this chapter;” 2) “there is probable cause for belief that particular communications

concerning that offense will be obtained through such interception;” 3) “normal investigative

procedures have been tried and have failed or reasonably appear to be unlikely to succeed if tried

or to be too dangerous;” and 4) “there is probable cause for belief that . . . the place where, the

wire . . . communications are to be intercepted are being used, or are about to be used, in

connection with the commission of such offense, or are leased to, listed in the name of, or

commonly used by such person.” 18 U.S.C. § 2518(3)(a)–(d).

       An order authorizing the interception of wire communications shall not issue until a

judge determines that the facts set forth in the application meet each of these requirements. Id.

“When considering whether authorization of a wiretap was proper, we ‘will accord great

deference to the determinations of the issuing judge.’” United States v. Jenkins, 659 F. App’x

327, 330 (6th Cir. 2016), cert. denied, 137 S. Ct. 700 (2017) (quoting United States v. Corrado,

227 F.3d 528, 529 (6th Cir. 2000)).

       a. Probable Cause

       Ross first argues that the affidavit in support of the wiretap application did not establish

probable cause that Ross was engaged in drug trafficking. [DN 148 at 4–7.] In detail, Ross states

that “there were no controlled buys with Ross, no observation of Ross with any heroin, no

observation of heroin transactions involving Ross, [and] no traffic stops uncovering heroin that



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were tied to Ross.” [Id. at 7.] According to Ross, the statements of confidential sources “that they

‘knew’ Ross to be a trafficker” were insufficient to satisfy the probable cause standard. [Id.] In

response, the United States argues that the affidavit contained information from reliable

confidential sources, corroborating facts from police, physical surveillance and GPS tracking by

law enforcement, and wire interceptions of Target Telephone 1, all of which together more than

established probable cause. [DN 171 at 18–22.]

        “‘The basic standards for a wiretap are similar to those for a search warrant,’ and ‘the

question that must be decided in issuing a warrant is whether there is probable cause to believe

that evidence of a crime will be uncovered.’” Jenkins, 659 F. App’x at 330 (quoting United

States v. Alfano, 838 F.2d 158, 161–62 (6th Cir. 1988)). “Certainty is not required, but rather a

fair probability and something more than mere suspicion.” Id. (quoting United States v. Poulsen,

655 F.3d 492, 504 (6th Cir. 2011)). As the Court noted above, a reviewing court will not reverse

an issuing judge’s probable cause determination “if the record contains a ‘substantial basis for

his probable cause findings.’” Id. (quoting Alfano, 838 F.2d at 162).

       Here, Special Agent Sanders’s affidavit established probable cause to believe that Ross

was engaged in illegal drug trafficking and that a wiretap of Target Telephone 2 would lead to

evidence that Ross and other then-unidentified individuals were involved in a DTO with Boonie

to distribute heroin. The section of the affidavit setting forth probable cause for the issuance of

authorization to perform wiretaps is extensive, spanning twenty-five pages. [DN 171-3 at 21–

46.] It contains, in relevant part, information obtained from several confidential sources,

surveillance conducted by law enforcement, GPS location tracking, the execution of

administrative subpoenas, and interceptions of wire communications.




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       The first confidential source, CS1, provided information to agents about Ross’s

involvement in the suspected DTO. [Id. at 21.] Special Agent Sanders explained that CS1 had,

for more than seven years, provided information to the DEA Louisville District Office (LDO)

that “led to numerous monetary seizures and felony arrests.” [Id.] CS1 “ha[d] a track record of

unquestioned reliability.” [Id.] In fall 2014, CS1 told the DEA LDO that, though CS1 had not

had any direct interactions with Ross, CS1 had known of Ross for years and knew that he was

currently involved in “receiv[ing] kilogram quantities of heroin from an individual known to

[CS1] only as ‘Boonie’ . . .” [Id. at 22.] CS1 previously had a business relationship with Boonie

involving the purchase of marijuana, but that relationship ended when Boonie became involved

with other types of illegal drugs. [Id. at 23.] However, CS1 “remained close associates” with

Boonie and saw him “socially on a regular basis.” [Id.] CS1 told the DEA LDO that Boonie told

CS1 that the heroin used in his operation was delivered to two different traffickers, one of whom

was “lil Gary.” [Id.] CS1 described “lil Gary’s” car to DEA agents, and from that description

agents determined that this individual was the Defendant, Gary Ross. [Id.]

       CS2 was also “considered reliable and his/her information . . . led to multiple felony

arrests and significant seizures of drugs and drug proceeds in the Louisville, Kentucky area.”

[Id.at 24.] CS2 told DEA agents that CS2 knew of Boonie as a trafficker of kilogram quantities

of heroin and that Boonie distributed heroin to only two individuals, Ross and “Ron C.” [Id.]

       CS3 had also provided reliable information to the DEA LDO that has led to drug arrests

and drug seizures in Louisville. [Id. at 25.] CS3 told agents that CS3 knew Ross to be a heroin

trafficker in Louisville and knew that Ross recently had a large amount of money seized by law

enforcement from his house. [Id.] Additionally, CS3 told agents that Ross “indicated to him/her

that he had over a million dollars in cash in his possession” and that he “planned to have a player



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from the National Basketball Association with whom he was friends claim ownership of the

money in hopes that it would be returned to him from the police.” [Id.]

        CS5, another source who is considered reliable and who has provided information that

has led to several arrests and drug seizures, provided information to LMPD detectives on

December 18, 2014. [Id. at 38–39.] This information involved Ronald (“Ron C”) Williams, the

other individual to whom Boonie was suspected to distribute heroin. [Id. at 38.] CS5 listened to a

recording of a call intercepted by the DEA LDO between a target individual, Coleman, and his

source of heroin, who was an unidentified male. [Id. at 39.] CS5 unequivocally identified the

voice of the unidentified male as Ronald Williams, whom CS5 had known for about twenty

years. [Id.]

        Special Agent Sanders additionally included information in his affidavit about the seizure

of $157,408.00 from Ross on October 28 and 29, 2014 during the LMPD’s search of Ross’s

house on Southdale Road. [Id. at 25–26.] At that time, Ross provided LMPD officers with his

telephone number,2 which a subsequent administrative subpoena confirmed was a number

subscribed to Ross. [Id. at 26.] A November 24, 2014 administrative subpoena of the call records

for Target Telephone 1 revealed that Ross attempted to contact Target Telephone 1 three times

using this phone number on the morning of October 29, 2014, the day LMPD officers concluded

the search of Ross’s house. [Id.] That afternoon, Target Telephone 1 called Ross’s number “on 4

occasions in quick succession and engaged in several brief telephone conversations.” [Id.]

Special Agent Sanders stated that he believed these conversations concerned the seizure of the

$157,408.00, and that that money was likely drug proceeds from Ross’s sale of the heroin

provided to him by Boonie. [Id. at 26–27.]


2
  This telephone number is different than the number associated with Target Telephone 2, but is one of two phones
law enforcement believed Ross to be using. [See DN 171-3 at 11; 26.]

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        On December 8, 2014, DEA LDO agents and LMPD officers attempted to locate and

identify Boonie using GPS tracking of Target Telephone 1. [Id. at 27–28.] The agents and

officers observed an unidentified black male matching CS1 and CS3’s descriptions of Boonie

and an unidentified female enter a Red Lobster restaurant in Louisville, Kentucky. Shortly after,

agents and officers observed a burgundy Dodge Ram 1500, registered to Ross, arrive at the

restaurant. [Id. at 28.] Ross and another unidentified black male exited the vehicle and entered

the Red Lobster. [Id.] Around 8:15 p.m., law enforcement observed an unidentified Hispanic

male arrive and enter the restaurant. [Id. at 28–29.] At around 9:00 p.m., officers and agents

observed Ross, the Hispanic male, and three unidentified black males leave the Red Lobster and

walk to the parking lot. [Id. at 29.] Two of the unidentified black males left in a blue Chevy

Silverado, later determined to be registered to Williams’s wife. [Id.] About twenty minutes later,

agents and officers saw the unidentified male they suspected to be Boonie leave the restaurant

along with two unidentified black females, one of whom was later identified as Ebony Burrus.

[Id.]

        On December 9, 2014, CS4 told detectives that “Ron. C” was waiting for a shipment of

heroin to arrive from Boonie. [Id.at 31.] The next day, on December 10, CS4 stated that Ron C

received the shipment and that it was selling for $3,500 per ounce. [Id.] Based on this

information, Special Agent Sanders stated that he believed that the meeting between the Ross

and the individuals suspected to be Boonie and Williams at Red Lobster concerned this incoming

shipment of heroin. [Id. at 30–31.]

        On December 11, 2014, CS1 told agents and officers that CS1 had been contacted by

Boonie from Target Telephone 1. [Id. at 34.] Agents and officers corroborated this information

by reviewing toll records obtained pursuant to an administrative subpoena. [Id.] CS1 and Boonie



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met that evening, and GPS location data for Target Telephone 1 confirmed its location in the

area CS1 stated that the meeting took place. [Id.] CS1 told officers and agents that CS1 and

Boonie had a long conversation in which Boonie discussed his heroin operation and his concern

that his associate, Ross, recently had about $150,000 seized from the LMPD. [Id. at 34–35.] CS1

told law enforcement that he/she believed that Ross owed that money to Boonie in exchange for

heroin Boonie provided to Ross to sell. [Id. at 35.] CS1 further relayed to officers that Boonie

expressed apprehension about continuing to sell heroin to Ross because Ross displayed a lot of

wealth in the community. [Id.] CS1 additionally told officers that Boonie had two smartphones

and one “burner” phone. [Id.]

       On January 6, 2015, Target Telephone 2 was activated. [Id. at 41; 46.] At 1:07 p.m. that

day, pursuant to a January 5, 2015 Title III wiretap warrant, DEA agents intercepted a call from

Target Telephone 2 to Target Telephone 1, but the call was not answered. [Id. at 40.] Then, at

1:07 pm, DEA agents intercepted a call from Boonie using Target Telephone 1 to the other

telephone number used by Ross, the number he provided to LMPD officers during the October

28 and 29 search of his house. [Id.] During the conversation, Ross asked Boonie “did you see the

other one?”, to which Boonie responded “yup . . . that was you?”. [Id.] Then, Boonie told Ross

“that he would get the ‘other one’ and call him shortly.” [Id. at 41.] Based on this exchange,

Special Agent Sanders stated that DEA agents believed that Boonie and Ross were afraid to

speak using Target Telephone 1 and the number Ross had given to the LMPD, as the parties

were likely worried that those numbers had been compromised. [Id. at 41–42.] Between January

6, 2015 and January 11, 2015, Target Telephone 2 called or received eight calls to or from

another number law enforcement determined was being used by Boonie. [Id. at 46.]




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         Analysis of toll records for Target Telephone 2 indicated that it was being used by Ross.

[Id. at 42.] For instance, “Target Telephone 2 [wa]s in regular contact with Ross’s mother.” [Id.]

Moreover, through GPS tracking of Target Telephone 2, DEA agents found that Target

Telephone 2 was “regularly in the vicinity of Ross’s residence [on] . . . Southdale Road” and

“that the phone stays in the same location overnight.” [Id. at 42–43.]

         Finally, the affidavit contained information regarding Ross’s criminal history, which

included, among other things, convictions of possession and trafficking of controlled substances.

[Id. at 16–17.]

         Based on all of this information, Special Agent Sanders’s affidavit provided ample

information for Chief Judge McKinley to find probable cause that Target Telephone 2 was being

used by Ross in furtherance of a conspiracy to distribute heroin and that communications

concerning those crimes would be obtained through interception of communications from Target

Telephone 2. See 18 U.S.C. § 2518(3)(a)–(d). The main argument Ross makes to the contrary is

that nowhere in Special Agent Sanders’s affidavit does he state that law enforcement made

controlled buys with Ross or ever observed him with heroin or engaged in drug transactions.3

[DN 148 at 7.]

         However, what Ross does not discuss is the information that was contained in the

affidavit. Here, CS1 and CS2 both identified Boonie and Ross as heroin traffickers and told law

enforcement that Boonie distributed heroin primarily to two individuals, Ross and Williams. [DN

171-3 at 21–24.] CS3 also identified Ross as a heroin trafficker, was aware that Ross had a large

sum of money seized by the LMPD, and indicated that Ross still had over a million dollars in his

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  Ross also briefly states in his motion that CS4 “was not stated to be reliable or to have any particular track record
or history as an informant,” as were CS1, CS2, CS3, and CS5. [Id. at 6.] However, because the Court finds that the
information from the remaining confidential sources, together with information obtained from police surveillance,
tracking, administrative subpoenas, and wire interceptions was sufficient to establish probable cause without the
information provided by CS4, the Court need not reach the issue of whether CS4 was sufficiently reliable.

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possession. [Id. at 25.] The affidavit further discussed the $157,408.00 that the LMPD seized

from Ross on October 29, 2014 and stated that toll records from later that day showed that Ross

had several calls to and from Target Telephone 1, which law enforcement knew to be used by

Boonie. [Id. at 25–27.] Calls intercepted between Target Telephone 1 and Ross during which the

parties discussed the “other ones” further led law enforcement to believe that Ross and Boonie

both used multiple phones. [Id. at 41–42.]

       Moreover, CS1 eventually had a meeting with Boonie, during which Boonie discussed

his heroin DTO, the seizure of $157,408.00 from Ross, and concerns over continuing to

distribute to Ross. [Id. at 34–35.] Finally, after Target Telephone 2 was activated, told records

revealed that it was in contact with Target Telephone 1 and another number officers knew to be

used by Boonie. [Id. at 40; 46.] Target Telephone 1 was also in frequent contact with Ross at the

telephone number he provided to police during the October 28 and 29 search of his house. [Id. at

40–41.] In total, this information gave rise to a fair probability that Ross was engaged in heroin

trafficking and that evidence of a heroin trafficking operation would be intercepted through

wiretaps of Target Telephone 2. Accordingly, Chief Judge McKinley had a substantial basis for

finding probable cause on the face of the affidavit.

       b. Necessity

       Ross next challenges the wiretap application on the grounds that it did not sufficiently set

forth the necessity of the interception of Ross’s wire communications. Specifically, Ross argues

that, because no one had personally observed Ross with drugs or engaged in drug transactions,

the investigation was as a mere “starting point,” which is an inappropriate time to engage in

wiretapping. [DN 148 at 7.] In response, the United States argues Special Agent Sanders’s

affidavit extensively outlined the alternative methods of investigation that were either used or



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considered by the DEA before applying for wiretap authorization and therefore that the affidavit

sufficiently demonstrated the necessity of wiretapping as the next step in the investigation. [DN

171 at 22–24.]

       The statute requires that wiretap applications include “a full and complete statement as to

whether or not other investigative procedures have been tried and failed or why they reasonably

appear to be unlikely to succeed if tried or to be too dangerous,” and an issuing judge may only

authorize interception after finding that this requirement is met. 18 U.S.C. § 2518(1)(c), (3)(c).

The purpose of the necessity requirement is to “protect[] against the impermissible use of a

wiretap as the ‘initial step in [a] criminal investigation.’” United States v. Rice, 478 F.3d 704,

710 (6th Cir. 2007) (quoting United States v. Giordano, 416 U.S. 505, 515 (1974)). Specifically,

the “requirement is designed ‘to assure that wiretapping is not resorted to in situations where

traditional investigative techniques would suffice to expose the crime’ . . .” Wright, 635 F. App’x

at 166 (quoting United States v. Landmesser, 553 F.2d 17, 19–20 (6th Cir. 1977)). “However,

investigators need only ‘give serious consideration to the non-wiretap techniques prior to

applying for wiretap authority,’ and explain to the court ‘the reasons for the investigators’ belief

that such non-wiretap techniques have been or will likely be inadequate.’” Jenkins, 659 F. App’x

at 333 (quoting United States v. Giacalone, 853 F.2d 470, 480 (6th Cir. 1988); Alfano, 838 F.2d

at 163–64). Moreover, “a district court’s finding that the requirements of § 2518(1)(c) have been

met are afforded ‘considerable discretion.’” United States v. Stewart, 306 F.3d 295, 304 (6th Cir.

2002) (quoting Landmesser, 553 F.2d at 20).

       Here, Special Agent Sanders’s affidavit sufficiently explains the necessity of the wiretap

on Ross’s phone and sufficiently describes the alternate investigative techniques that were “tried

and failed,” “appear[ed] to be unlikely to succeed if they [we]re tried,” or that were “too



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dangerous to employ.” [DN 171-3 at 46–64.] First, Special Agent Sanders opined that the

interception of wire communications was “the only available technique that ha[d] a reasonable

likelihood of securing the evidence necessary to prove beyond a reasonable doubt” that the

suspected individuals were engaged in the suspected criminal activity.” [Id. at 46.] Special Agent

Sanders explained that officers had, up to that point, been unable to establish the identity of

Boonie, the suspected leader of the DTO, unable to identify Boonie’s suppliers or other co-

conspirators such as customers and distributors. [Id.] Cf. Stewart, 306 F.3d at 305 (“[L]aw

enforcement officials alleged that wiretap surveillance was the only investigative technique

reasonably likely to establish the full scope of the alleged criminal enterprise.”)

       Second, to support this claim of necessity, Special Agent Sanders explained, in great

detail, why certain other investigative techniques were ineffective, too risky, had only limited

success, or were unlikely to fully accomplish the goals of the investigation. These alternative

techniques included the use of 1) undercover agents and confidential sources; 2) physical

surveillance; 3) pole cameras or close circuit TV; 4) pen registers, traps and traces, or toll

analysis; 5) search warrants; 6) tracking devices; 7) trash searches; 8) financial investigation; 9)

interception of wire communications; 10) administrative subpoenas; 11) grand jury subpoenas;

and 12) interviews of investigative targets and associates. [Id. at 47–64.]

        For example, according to Special Agent Sanders, while confidential sources had been

useful to a certain extent, because Boonie would only deal with certain individuals whom he

trusted, none of the confidential sources were able to infiltrate the organization. [Id. at 47–48.]

Other confidential sources were also not in a position to purchase illegal drugs from members of

the DTO. [Id. at 48–49.] Nor did Special Agent Sanders believe it was likely that any undercover

law enforcement agents would have success infiltrating the DTO due to the exclusiveness of



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dealings within the DTO and the tendency to compartmentalize drug activities to minimize the

possibility of detection. [Id. at 49–50.] With regard to physical surveillance and location data,

Special Agent Sanders explained that these tools had been useful for purposes of observing

Boonie and other members of the DTO and identifying places at which drug activity likely

occurred. [Id. at 50–51.] However, greater surveillance could have created the risk of detection

and still would not have allowed law enforcement to determine whether individuals “utilize[d]

the[e] residence to accept payment of drug debts, to distribute quantities of illegal drugs, or the

storage of large quantities of heroin or drug proceeds.” [Id. at 52.] In other words, “surveillance

observations by themselves are generally insufficient to prove the purpose of the meetings and

other activities.” Moreover, surveillance was unlikely to establish the identity of other

individuals involved in the DTO, a key goal of the investigation. [Id. at 53.]

       Special Agent Sanders additionally explained why the use of pole cameras or close

circuit TV would provide little insight into the DTO, [id. at 54], and that toll records “provide[d]

only investigative leads and corroborating evidence, but d[id] not in themselves provide any

direct evidence of criminal activity.” [Id. at 55.] Moreover, the use of search warrants was not a

viable option, as law enforcement was unaware of any locations (aside from the Southdale Road

house, which had already been searched), at which the DTO conducted drug activity. [Id. at 57.]

Though law enforcement had used tracking devices with some success and planned to continue

using them, Special Agent Sanders opined that it was necessary to intercept wire

communications to ascertain “the exact purpose for any location tracked.” [Id. at 59.] Trash

searches were also not a feasible option because the only house law enforcement knew to be

associated with the DTO, the Southdale Road house, had surveillance cameras installed on the

exterior which would allow occupants to detect law enforcement. [Id. at 60.]



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       Special Agent Sanders also explained that the interception of wire communications from

Target Telephone 1 had been useful in allowing law enforcement to establish that Boonie

communicated with various associates, including Ross. [Id. at 61–62.] However, Special Agent

Sanders believed that Boonie would soon discontinue use of Target Telephone 1, making

interception of communications from Target Telephone 2 necessary. [Id. at 62.] While

administrative subpoenas had been useful in identifying “Target Interceptees” and the existence

of Target Telephone 2, these tools still could not allow law enforcement to determine “the

substance of the conversations . . . or any certainty as to the exact identities of the actual

conversants.” [Id. at 62.] Finally, Special Agent Sanders opined that the use of grand jury

subpoenas or interviews of investigative targets and associates would not be successful because

they could be barred by claims immunity, could lead to false information, and could notify

participants of the DTO as to the existence of the investigation. [Id. at 63–64.]

       In sum, Special Agent Sanders exhaustively explained in his affidavit that “investigators

[had] give[n] serious consideration to the non-wiretap techniques prior to applying for wiretap

authority” and sufficiently explained “the reasons for the investigators’ belief that such non-

wiretap techniques have been or will likely be inadequate.” Wright, 635 F. App’x at 166 (citing

Alfano, 838 F.2d at 163–64). Importantly, “[t]he government ‘need not prove the impossibility of

other means of obtaining information,’ as ‘the mere fact that some investigative techniques were

successful in uncovering evidence of wrongdoing does not mandate that a court negate the need

for wiretap surveillance.’” Id. at 166 (citing Stewart, 306 F.3d at 305). Moreover, “[w]here, as

here, ‘the telephone is routinely relied on to conduct the criminal enterprise under investigation,’

a wiretap ‘is particularly appropriate.’” Jenkins, 659 F. App’x at 335 (quoting Landmesser, 553

F.2d at 20). Accordingly, the Court finds that Special Agent Sanders’ affidavit established the



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probable cause and necessity required under § 2518 for the issuance of authorization to intercept

wire communications.

   4) Search Warrant for the Keeling Park Drive House

       Finally, Ross alleges that the July 6, 2016 search warrant failed to establish probable

cause that evidence of a crime would be found at Ross’s residence on Keeling Park Drive. [DN

160 at 1–3.] Detective Daniel Evans of the LMPD wrote the affidavit in support of this search

warrant. [DN 171-4 at 1 (Detective Evans’s Affidavit).] At that time, Detective Evans had been

employed by the LMPD for ten years. [Id. at 2.] In his affidavit, he explained that, based on the

DEA’s 2015 interception of wire communications from Boonie, who was eventually identified as

Martin Polk, a heroin trafficker, “[i]t was determined that P[olk] primarily distributes the heroin

to Gary R[oss] and Ronald W[illiams].” [Id.] Pursuant to a series of search warrants executed in

March 2015, DEA agents seized approximately $285,000 and five kilograms of heroin and

obtained enough information to secure the indictments of Polk, Williams, and other members of

the DTO. [Id.]

       In August and September 2015, confidential informants engaged in communications with

an individual named Darin Harris for the purpose of organizing a controlled drug transaction.

[Id.] On August 19, 2015, confidential informants had a meeting with Harris, who informed the

confidential informants that he did not have enough money to purchase heroin at that time, but

that “his ‘partner’ had the money.” [Id.] Though Harris did not name Ross by name, police

surveillance of Harris immediately following this meeting showed him meeting with Ross. [Id.]

Harris indicated to the confidential informants that he and a “third-party buyer” sought to

purchase three kilograms of heroin for $72,000 per kilogram, for a total of approximately

$215,000. [Id.] On September 23, 2015, the confidential informants told Harris to have the



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money ready the following morning. [Id.] After this conversation, GPS tracking of Harris’ cell

phone showed him travel to the house on Keeling Park Drive, Ross’s primary residence at that

time. [Id.] Harris remained there for several hours. [Id.] Detective Evans stated in the affidavit

that the LMPD believed Harris travelled to Ross’s residence that day “to count and prepare the

money for the transaction.” [Id.]

       On September 24, 2015, the confidential informants told Harris they wanted to meet he

and his “partner.” [Id. at 3.] Immediately after, location tracking data showed Harris leave his

residence and travel directly to Ross’s house on Keeling Park Drive. [Id.] After Harris arrived at

Ross’s house, Harris contacted the confidential “informants to negotiate the drug transaction.”

[Id.] Detective Evans stated that, based on his training and experience, he believed that Harris

and Ross were counting large sums of money to prepare to carry out the transaction. [Id.]

However, negotiations over money ultimately failed and the transaction was not carried out. [Id.]

       The affidavit included additional evidence regarding Ross’s criminal history, including

previous charges of narcotics trafficking, and the October 2014 seizure of roughly $150,000

from Ross’s previous residence on Southdale Road. [Id.] Jefferson County property records

showed that Ross owned the Keeling Park Drive house. [Id.] And, like Ross’s previous

residence, the Keeling Park Drive house was equipped with surveillance cameras on the outside.

[Id.] Finally, Ross was indicted for heroin trafficking the same day Detective Evans applied for

the search warrant, on July 6, 2016. [Id.] An arrest warrant issued that same day. [Id.]

       Ross does not raise issues with the fact that some information contained in the affidavit

was obtained from confidential informants who interacted with Harris. [See DN 160.] Rather, he

alleges that the affidavit in support of the warrant contained conclusory statements and lacked

evidence to “directly connect[] Ross to drug trafficking.” [Id. at 1–2.] Specifically, Ross argues



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that the statement that the January 2015 investigation showed that “Polk primarily distributes

heroin to Gary Ross and Ronald Williams” was not sufficiently developed for the issuing judge

to evaluate. [Id. (citing DN 171-4 at 2).] Additionally, Ross states that “[n]o one alleges to have

seen drugs at Ross’s residence, to have seen Ross with drugs, or to have observed a drug

transaction involving Ross. No seized drugs have been connected to Ross.” [Id.]

        As the Court stated above, to find probable cause, it must simply be that, based on the

four corners of the affidavit, “there is a fair probability that contraband or evidence of a crime

will be found in a particular place.” United States v. Slaughter, 274 F. App’x 460, 465 (6th Cir.

2008) (citations omitted). Whether this standard is met is determined based on the “the totality of

the circumstances.” Brooks, 594 F.3d at 492 (citations omitted.) Moreover, as the Court noted

above, “[t]he magistrate’s determination of probable cause is afforded great deference and

should be reversed only if arbitrarily made.” United States v. Jackson, 470 F.3d 299, 306 (6th

Cir. 2006) (citing United States v. Allen, 211 F.3d 970, 973 (6th Cir. 2000) (en banc)).

        As the United States argues in its post-hearing brief, the Sixth Circuit has “acknowledged

that ‘[i]n the case of drug dealers, evidence is likely to be found where the dealers live.’” Brown,

828 F.3d at 383 (quoting United States v. Jones, 159 F.3d 969, 975 (6th Cir. 1998)). And while

an individual’s status as a drug dealer alone will not suffice for a finding of probable cause that

drugs or drug proceeds will be found in his home, “reliable evidence connecting the known drug

dealer’s ongoing criminal activity to the residence” ordinarily will. Id. For example, “facts

showing that the residence had been used in drug trafficking” are typically sufficient. Id. See also

Berry, 565 F.3d at 339 (“Although a defendant’s status as a drug dealer, standing alone, does not

give rise to a fair probability that drugs will be found in defendant’s home . . . that status . . . plus




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observation of drug activity near defendant’s home is sufficient to establish probable cause to

search the home.”)

       Here, the affidavit established that Ross was a known drug trafficker based on the 1)

DEA LDO’s investigation into Boonie’s (later identified as Polk’s) heroin trafficking operation,

2) the LMPD’s October 2014 seizure of about $150,000 from Ross’s previous residence on

Southdale Road, and 3) Ross’s prior criminal history involving narcotics trafficking. [DN 171-4

at 2–3.] Ross suggests that the statement in the affidavit that DEA agents “determined that

P[olk] primarily distributes the heroin to Gary R[oss] and Ronald W[illiams]” was not

sufficiently developed for the issuing judge to evaluate. [DN 160 at 1–2 (citing DN 171-4 at 2).]

After reviewing the affidavit, however, the Court disagrees. Rather, Detective Evans provided

detailed information explaining how DEA agents made this determination. He stated in the

affidavit that, beginning in January 2015, the DEA obtained authorization to perform wiretaps of

a phone used by Polk, a “kilogram quantity heroin trafficker.” [DN 171-4 at 2.] Through several

interceptions, “over numerous phones utilized by P[olk] and members of his” DTO, DEA agents

were able to ascertain Polk’s role in the DTO and identify the individuals to whom Polk

distributes, including Ross and Williams. [Id.] This was sufficient detail about the DEA

investigation for the issuing judge to make a determination as to probable cause for the July 6,

2016 search warrant.

       And although Ross is correct that the affidavit did not contain explicit observations of

Ross with drugs or engaged in drug transactions, it nonetheless contained several facts that

suggested that drug activity was occurring at Ross’s house. Specifically, confidential informants

were engaged in frequent communications with Harris in August and September 2015 for the

purpose of arranging a heroin sale. Three times after speaking with the informants, Harris



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travelled immediately to Ross’s residence at Keeling Park Drive. The fact that Harris repeatedly

visited Ross’s house in the midst of negotiating a nearly $215,000 drug transaction with the

informants suggests the ongoing nature of the criminal activity and that criminal activity was

taking place at Ross’s house. For instance, the fact that Harris went straight to Ross’s house on

September 23 immediately after informants told Harris to have the money ready the following

morning and on September 24 after informants told Harris they wanted to meet his partner, and

remained at Ross’s residence for several hours each time, suggests that Harris and Ross were

working together to gather the money to purchase the heroin. This is ample evidence that Ross’s

residence was “be[ing] used in drug trafficking” and therefore “connect[s] [Ross]’s ongoing

criminal activity to the residence.” Brown, 828 F.3d 383. Accordingly, the Court finds that

Detective Evans’s affidavit established a substantial basis for the state court judge to find

probable cause to search Ross’s house on Keeling Park Drive.

                                        CONCLUSION

         For the reasons stated herein, IT IS HEREBY ORDERED that Gary Ross’s Motion to

Suppress [DN 148] is DENIED.



Date:   April 21, 2017


cc:      Counsel of Record




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